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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CHRIS MATSON,                                )
                                             )
             Plaintiff,                      )
                                             )       CIVIL ACTION NO.:
      vs.                                    )       1:20-cv-04880-LMM-RDC
                                             )
CITY OF FOREST PARK, GA,                     )
                                             )
             Defendant.                      )

                   DEFENDANT’S INITIAL DISCLOSURES

      COMES NOW Defendant City of Forest Park, Georgia (the “City”), and

pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure and Local Rule

26.1, N.D. Ga., makes its Initial Disclosures. The disclosures set forth herein

constitute the best information presently available to the City; however, because

the City has not completed its investigation of the facts underlying this lawsuit, nor

has it completed discovery or preparation of this case for trial, these disclosures are

provided without prejudice to the City’s right to timely amend, supplement, or

change said disclosures if and when additional, different, or more accurate

information becomes available.        Moreover, said disclosures are subject to

correction for inadvertent errors or omissions.
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Initial Disclosure No. 1:

If the defendant is improperly identified, state defendant’s correct
identification and state whether defendant will accept service of an amended
summons and complaint reflecting the information furnished in this
disclosure response.

      Response:

      The City does not contend that it has been improperly identified.

Initial Disclosure No. 2:

Provide the names of any parties whom defendant contends are necessary
parties to this action, but who have not been named by plaintiff. If defendant
contends that there is a question of misjoinder of parties, provide the reasons
for defendant's contention.

      Response:

      Empower Retirement, LLC, which served as the third-party administrator of

the retirement plans at issue in this case, may be a necessary party to this action.

Initial Disclosure No. 3:

Provide a detailed factual basis for the defense or defenses or any
counterclaims or crossclaims asserted by defendant in the responsive
pleading.

      Response:

      The City has not asserted any counterclaim or crossclaim in its Answer to

Plaintiff’s Amended Complaint. The City has asserted the following defenses to

this action:

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        First Defense: The Amended Complaint fails, in whole or in part, to state a

claim against the City upon which relief can be granted. The allegations contained

in Plaintiff’s Amended Complaint are insufficient to state a claim for relief. Once

discovery reveals the specific decisions made or actions taken by the City, the

evidence will establish the existence of a lawful basis underlying same.

        Second Defense: At all times, the City’s actions with regard to Plaintiff and

his employment have been in conformance with all applicable constitutional

standards, laws, rules, and regulations. Any action taken by the City adversely

affecting Plaintiff or his employment was for legitimate, non-discriminatory

reasons and, as such, did not violate any constitutional or statutory rights possessed

by Plaintiff. Additionally, and/or alternatively, even if Plaintiff could demonstrate

that discrimination played a motivating part in any such adverse action – which he

cannot – the same action would have been taken for legitimate, non-discriminatory

reasons. Furthermore, the City has not violated Plaintiff’s rights under federal or

state law. Once discovery reveals the specific decisions made or actions taken by

the City, the evidence will establish the existence of a lawful basis underlying

same.

        Third Defense: Any action taken by the City adversely affecting Plaintiff or

his employment was for legitimate, non-discriminatory reasons and, as such, did

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not violate any constitutional or statutory rights possessed by Plaintiff.

Additionally, and/or alternatively, even if Plaintiff could demonstrate that

discrimination played a motivating part in any such adverse action – which he

cannot – the same action would have been taken for legitimate, non-discriminatory

reasons. The City denies that it discriminated against Plaintiff, but even if he

could demonstrate that discrimination played a motivating party in any such

adverse action (which he cannot), the same action would have been taken for

legitimate, non-discriminatory reasons.        Once discovery reveals the specific

decisions made or actions taken by the City, which Plaintiff contends to be

discriminatory, the evidence will establish the existence of a lawful basis

underlying same.

      Fourth Defense: The City has not intentionally, willfully, or negligently

violated Plaintiff’s rights in any manner or acted maliciously, with reckless

indifference, or negligently with regard to Plaintiff. At no time has the City acted

with any intent to injure or otherwise cause harm to Plaintiff. The City has, at all

times, acted in accord and in good faith compliance with applicable law. The City

denies that it discriminated against Plaintiff or otherwise violated Plaintiff’s rights

under federal or state law. Any action taken by the City adversely affecting

Plaintiff or his employment was for legitimate, non-discriminatory reasons and, as

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such, did not violate any constitutional or statutory rights possessed by Plaintiff.

Additionally, and/or alternatively, even if Plaintiff could demonstrate that

discrimination played a motivating part in any such adverse action – which he

cannot – the same action would have been taken for legitimate, non-discriminatory

reasons. Once discovery reveals the specific decisions made or actions taken by

the City, the evidence will establish the existence of a lawful basis underlying

same.

        Fifth Defense: Plaintiff cannot demonstrate the existence of an unlawful

policy, custom, or practice necessary to support his claim(s) brought pursuant to

42 U.S.C. § 1983 (“Section 1983”) against the City. Moreover, the City is not a

proper “person” subject to suit under Section 1983.          Municipalities cannot be

held liable under Section 1983 for constitutional violations on a theory of

respondeat superior.    In order to recover in a claim brought against a local

government entity pursuant to Section 1983, Plaintiff must prove the existence of

an unconstitutional or unlawful policy, custom or practice on the part of such

entity. Plaintiff must show municipal action was taken with the requisite degree of

culpability and causally linked to a deprivation of a constitutional right. Plaintiff is

unable to make such a showing. In addition, the City is not a “person” within the

meaning of Section 1983.

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      Sixth Defense: Plaintiff’s claims may be barred in whole or in part by

accord and satisfaction, failure of consideration, fraud, illegality, consent,

waiver,   release,   laches,   failure   of    condition   precedent,   recoupment,

justification, unclean hands, after-acquired evidence, estoppel, and/or

additional defenses that may be identified during the proceedings. By raising

these defenses, the City is preserving its ability to conduct discovery on these

issues and to pursue such defenses if the facts so warrant.

      Seventh Defense: To the extent any employee, manager, supervisor, or

official of the City engaged in any unlawful conduct as alleged in the Amended

Complaint, such actions were outside the scope and course of their employment

and were not in furtherance of the City’s business. To the extent any unlawful

conduct occurred, which the City denies, the City cannot be held liable for such

acts because they were outside the scope of employment of those who took them.

      Eighth Defense: Plaintiff’s claims under 42 U.S.C. § 1981 (“Section

1981”) are barred to the extent they are duplicative and redundant of his claims

under the Fourteenth Amendment to the U.S. Constitution. A prevailing plaintiff

under Title VII, Section 1981, and the Fourteenth Amendment to the U.S.

Constitution will not be permitted a double recovery, as he seeks redress for the

same wrong pursuant to different legal authority.

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      Ninth Defense: Plaintiff is not entitled to any of the equitable, declaratory,

or legal relief requested against the City. Additionally, and/or alternatively, to the

extent he is entitled to damages or other relief, the same is limited by applicable

law. While the City maintains that Plaintiff can establish no set of facts in support

of his claims that would entitle him to the relief requested or to any relief

whatsoever, relief is limited by applicable law.

      Tenth Defense: Any damages that Plaintiff suffered resulted from the acts

or omissions of others for whom the City is not liable and/or were the direct and

proximate result of his own actions or inactions. To the extent any unlawful

conduct occurred, which the City denies, the City cannot be held liable for such

acts because they were outside the scope of employment of those who took them

and/or were caused by Plaintiff’s own actions.

      Eleventh Defense: Plaintiff’s claims against the City under Section 1981,

Section 1983, and the Fourteenth Amendment to the U.S. Constitution are barred

on the grounds that Plaintiff cannot show that any damages he allegedly suffered

were caused by actions taken under color of state law. Municipalities cannot be

held liable under Section 1983 for constitutional violations on a theory of

respondeat superior.    In order to recover in a claim brought against a local

government entity pursuant to Section 1983, Plaintiff must prove the existence of

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an unconstitutional or unlawful policy, custom or practice on the part of such

entity. Plaintiff must show municipal action was taken with the requisite degree of

culpability and causally linked to a deprivation of a constitutional right. Plaintiff is

unable to make such a showing.

      Twelfth Defense: Plaintiff’s claims are barred to the extent that he failed to

exhaust his administrative remedies or otherwise satisfy all conditions precedent

or statutory prerequisites to bringing and maintaining his claims against

Defendants. In particular, Plaintiff’s claims are barred to the extent any action

upon which they are based occurred more than 180 days prior to the filing of his

administrative charges of discrimination with the Equal Employment Opportunity

Commission (“EEOC”) and/or were not the subject of or were otherwise outside

the scope of said charges. Plaintiff’s Title VII claim is barred to the extent he did

not exhaust his administrative remedies or such claim is based upon acts that

occurred prior to the limitations period and to the extent that Plaintiff unreasonably

delayed in pursuing such a claim. Specifically, Plaintiff failed to file his Charge of

Discrimination with the EEOC within 180 days of the complained-of

discrimination, and as such, his Title VII claim is barred. By raising these defenses,

the City reserves the right to conduct discovery on these issues and to pursue such

defenses if the facts so warrant.

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      Thirteenth Defense: To the extent Plaintiff seeks punitive damages, such

relief is not available against the City as a matter of law. To the extent Plaintiff

seeks to recover punitive damages against the City, such a claim fails because

government agencies, such as the City, cannot be held liable for punitive damages

as to his Title VII or Section 1983 claims. See, e.g., Murphy v. City of Flagler

Beach, 846 F.2d 1306, 1309 n.5 (11th Cir. 1988) (recognizing that “punitive

damages . . . are not recoverable against a municipality in a Section 1983 action”);

Bradley v. DeKalb Cty., No. 1:10–CV–0218–TWT–GGB, 2010 WL 4639240, at

*5 (N.D. Ga. May 17, 2010) (noting that government agencies are exempt from

punitive damages under Title VII and § 1983).

      Fourteenth Defense: Plaintiff’s claims and remedies are or may be barred,

in whole or in part, by the applicable statute of limitations. By raising this defense,

the City reserves the right to conduct discovery on these issues and to pursue such

defenses if the facts so warrant.

      Fifteenth Defense: The City affirmatively denies that the retirement plans,

which are the subject of Plaintiff’s contractual claims, constitute binding contracts

between the City and Plaintiff. This defense is self-explanatory. By raising this

defense, the City reserves the right to conduct discovery on these issues and to

pursue such defenses if the facts so warrant.

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      Sixteenth Defense: To the extent that that the retirement plans, which are

the subject of Plaintiff’s contractual claims, constitute binding contracts, the City

was not a party to said contracts with Plaintiff. The City used a third-party private

company to administer the retirement plans, which are the subject of Plaintiff’s

contractual claims. By raising this defense, the City reserves the right to conduct

discovery on these issues and to pursue such defenses if the facts so warrant.

      Seventeenth Defense: The City did not breach any duty owed to Plaintiff in

this action. This defense is self-explanatory. By raising this defense, the City

reserves the right to conduct discovery on these issues and to pursue such defenses

if the facts so warrant.

      Eighteenth Defense: The City did not act in a fiduciary capacity with

regard to the claims set forth in the Amended Complaint. This defense is self-

explanatory. By raising this defense, the City reserves the right to conduct

discovery on these issues and to pursue such defenses if the facts so warrant.

      Nineteenth Defense: The City owed no fiduciary duty to Plaintiff. This

defense is self-explanatory. By raising this defense, the City reserves the right to

conduct discovery on these issues and to pursue such defenses if the facts so

warrant.

      Twentieth Defense: Plaintiff’s claims are barred to the extent any damages

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were proximately caused by his own actions or omissions, or by the actions or

omissions of others for whom the City is not liable, or by other independent and/or

intervening causes that the City did not control or have the right to control. Any

harm that Plaintiff allegedly suffered was not caused by the City. Rather, any such

harm was caused by Plaintiff’s own actions or the actions of third parties. By

raising this defense, the City reserves the right to conduct discovery on these issues

and to pursue such defenses if the facts so warrant.

      Twenty-First Defense: Plaintiff’s contractual claims for relief are barred

by the express and unambiguous terms and conditions of the alleged contract(s)

between the parties and/or barred against the City to the extent that the City was

not in privity with Plaintiff. This defense is self-explanatory. By raising this

defense, the City reserves the right to conduct discovery on these issues and to

pursue such defenses if the facts so warrant.

      Twenty-Second Defense: Plaintiff’s claim for damages, the entitlement to

which is expressly denied, is barred to the extent that he has failed to mitigate his

damages as required by law. Plaintiff is not entitled to the specific relief requested

or to any relief whatsoever; however, in the event that Plaintiff is entitled to any

relief, which he is not, applicable law requires that he act reasonably to mitigate his

damages. Any monetary relief sought by Plaintiff is subject to reduction to the

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extent of any unreasonable failure to mitigate and also to the extent of any such

mitigation. By raising this defense, the City is preserving its ability to conduct

discovery on this issue and to pursue such a defense if the facts so warrant.

      Twenty-Third Defense: The City has not acted in bad faith, been

stubbornly litigious, or caused Plaintiff unnecessary trouble and expense,

therefore, Plaintiff is not entitled to recovery of its expenses of litigation under

O.C.G.A. § 13-6-11. This defense is self-explanatory. By raising this defense, the

City reserves the right to conduct discovery on these issues and to pursue such

defenses if the facts so warrant.

      Twenty-Fourth Defense: The existence of a bona fide controversy

precludes any award of attorneys’ fees and other expenses of litigation under

O.C.G.A. § 13-6-11. Each of Plaintiff’s substantive claims is due to be dismissed

as a matter of law, and O.C.G.A. § 13-6-11 provides no independent cause of

action. By raising this defense, the City reserves the right to conduct discovery on

these issues and to pursue such defenses if the facts so warrant.

      Twenty-Fifth Defense: The City complied with the requirements of the

Georgia Open Records Act, and acted in good faith reliance on the Georgia Open

Records Act. The City complied with the provisions of the Georgia Open Records

Act (“ORA”) in responding to Plaintiff’s June 24, 2020 Open Records request, and

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the City acted in good faith reliance on applicable law. Specifically, Plaintiff

submitted a request under the ORA to the City on or about June 24, 2020. While

the City produced records responsive to nearly all of Plaintiff’s request, one

request sought the following: “any and all non-privileged written, electronic, or

any other form of tangible communication(s), including email, between and among

any employee, elected official, staff member, or any other individual regarding

[Plaintiff].” It was explained to counsel for Plaintiff that the City interpreted this

request to include as responsive every email sent or received by Plaintiff and every

email that mentioned Plaintiff from any email account maintained by an employee

or elected official of the City. It was further explained that the City utilized an

antiquated email system that would require the City to search each individual email

account separately to locate responsive emails – i.e., the City could not simply

conduct a system-wide search. Finally, it was explained that each potentially

responsive email would need to be reviewed for confidential information and

privilege. Plaintiff, nonetheless, insisted on moving forward with his request. By

extrapolating the time it would take to search approximately 408 email accounts

maintained by the City and review responsive emails, the City provided a cost

estimate using a rate of approximately $16.00 per/hour, which was the rate of the

lowest paid individual with the necessary skill to accomplish the task. Plaintiff

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baulked at the cost estimate, refused to pay for production of the remaining records

in question, and failed to engage in good faith to further clarify the above-

referenced request.

      Twenty-Sixth Defense: Plaintiff acted without substantial justification in

initiating a claim under the Georgia Open Records Act, and as a result, the City is

entitled to reasonable attorneys’ fees and costs stemming from its defense of such

claim. Because the City complied with the Georgia Open Records Act in

responding to Plaintiff’s June 24, 2020 Open Records request, Plaintiff’s claim that

the City violated the Georgia Open Records Act with respect to said request was

brought without “substantial justification.” Therefore, pursuant to O.C.G.A. § 50-

18-73(b), the City is entitled to reasonable attorneys’ fees and costs stemming from

its defense of such claim.

      Twenty-Seventh Defense: The City hereby reserves the right to seek leave

to amend this Answer or add additional defenses, or to withdraw defenses, after

reasonable opportunity for appropriate discovery. This defense is self-explanatory.

Initial Disclosure No. 4:

Describe in detail all statutes, codes, regulations, legal principles, standards
and customs or usages, and illustrative case law which defendants contend are
applicable to this action.




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      Response:

      In addition to the authority previously cited herein,

      1.    Title VII of the Civil Rights Act, 42 U.S.C. § 2000e et seq., and all

            illustrative case law;

      2.    42 U.S.C. § 1981, and all illustrative case law;

      3.    42 U.S.C. § 1983, and all illustrative case law;

      4.    The Equal Protection Clause of the Fourteenth Amendment to the

            United States Constitution, and all illustrative case law;

      5.    Georgia state law relating to breach of contract, and all illustrative

            case law;

      6.    Georgia state law relating to breach of fiduciary duties, and all

            illustrative case law;

      7.    The Georgia Open Records Act, O.C.G.A. § 50-18-70, et seq., and all

            illustrative case law;

      8.    O.C.G.A. § 13-6-11, and all illustrative case law.

Initial Disclosure No. 5:

Provide the name and, if known, the address and telephone number of each
individual likely to have discoverable information that you may use to support
your claims or defenses, unless solely for impeachment, identifying the
subjects of the information. (Attach witness list to Initial Disclosures as
Attachment A.)

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        Response:

        The City reserves the right to call any individual identified by Plaintiff in his

Initial Disclosures or any supplement thereto, as well as any individual(s)

identified during the course of discovery. At the present time, the City believes the

individuals set forth in Attachment “A” may have knowledge of discoverable

information relevant to their defenses. The City reserves the right to supplement

this list.

Initial Disclosure No. 6:

Provide the name of any person who may be used at trial to present evidence
under Rule 702, 703, or 705 of the Federal Rules of Evidence. For all experts
described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report
satisfying the provisions of that rule. (Attach expert witness list and written
reports to Initial Disclosures as Attachment B.)

        Response:

        The City has not identified or retained any expert witnesses at this time, but

reserves the right to supplement this response if they intend to call an expert

witness.

Initial Disclosure No. 7:

Provide a copy of, or description by category and location of, all documents,
data compilations or other electronically stored information, and tangible
things in your possession, custody, or control that you may use to support
your claims or defenses unless solely for impeachment, identifying the subjects
of the information. (Attach document list and descriptions to Initial
Disclosures as Attachment C.)
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       Response:

       Presently, the City believes the documents described in Attachment “C” may

be used to support its defenses. The City reserves the right to supplement this list.

Initial Disclosure No. 8:

In the space provided below, provide a computation of any category of
damages claimed by you. In addition, include a copy of, or describe by
category and location of, the documents or other evidentiary material, not
privileged or protected from disclosure on which such computation is based,
including materials bearing on the nature and extent of injuries suffered,
making such documents or evidentiary material available for inspection and
copying under Fed.R.Civ.P. 34. (Attach any copies and descriptions to Initial
Disclosures as Attachment D.)

       Response:

       The City has not asserted any counterclaims or cross-claims in this matter.

However, the City contends that it is entitled to fees and costs associated with the

defense of this matter, which are not subject to calculation at this time.

Initial Disclosure No. 9:

If defendant contends that some other person or legal entity is, in whole or in
part, liable to the plaintiff or defendant in this matter, state the full name,
address, and telephone number of such person or entity and describe in detail
the basis of such liability.

       Response:

       The City does not contend that some other person or legal entity is liable to

Plaintiff or the City in this matter.

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Initial Disclosure No. 10:

Attach for inspection and copying as under Fed.R.Civ.P. 34 any insurance
agreement under which any person carrying on an insurance business may be
liable to satisfy part or all of a judgment which may be entered in this action
or to indemnify or reimburse for payments to satisfy the judgment. (Attach
copy of insurance agreement to Initial Disclosures as Attachment E.)

      Response:

      See Defendant-00001 - Defendant-00014, which is attached hereto as

Exhibit E.

      Respectfully submitted, this the 20th day of January, 2021.

                                                s/ K. Tate Gray
                                                Sharon P. Morgan
                                                Georgia Bar No. 522955
                                                Laura A. Denton
                                                Georgia Bar No. 158667
                                                K. Tate Gray
                                                Georgia Bar No. 919123


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denton@elarbeethompson.com
gray@elarbeethompson.com

Attorneys for Defendant City of Forest Park


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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
CHRIS MATSON,                                )
                                             )
             Plaintiff,                      )
                                             )        CIVIL ACTION NO.:
      vs.                                    )        1:20-cv-04880-LMM-RDC
                                             )
CITY OF FOREST PARK, GA,                     )
                                             )
             Defendant.                      )

                          CERTIFICATE OF SERVICE

      I hereby certify that on January 20, 2021, I filed a true and correct copy of

the foregoing DEFENDANT’S INITIAL DISCLOSURES via the Court’s

electronic filing system, which will automatically send notification of such filing to

all counsel of record:

                                 Steven N. Newton
                                 Nancy B. Pridgen

                                                 s/ K. Tate Gray
                                                 K. Tate Gray
                                                 Georgia Bar No. 919123

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Attorney for Defendant City of Forest Park
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                      Chris Matson v. City of Forest Park
                Civil Action File No. 1:20-cv-04880-LMM-RDC

                                 Attachment “A”

      By this reference, the City incorporates herein all individuals identified by

Plaintiff in his Initial Disclosures or any subsequent amendment thereto; as well as

all individuals identified during the course of discovery, including, but not limited

to, all individuals identified during any depositions in this matter. At the present

time, the City believes the following individuals also may have discoverable

information to support its defenses.


      1.     Plaintiff Chris Matson
             c/o Steven N. Newton
             Steven N. Newton, LLC
             401 Westpark Ct., Suite 200
             Peachtree City, GA 30269
             (678) 831-0707

             Nancy B. Pridgen
             Pridgen Bassett Law, LLC
             One Glenlake Pkwy., Suite 650
             Atlanta, GA 30328
             (404) 551-5884

      Plaintiff Matson has knowledge of his employment with the City, as well as

the claims and allegations in his Amended Complaint.

      2.     Nathaniel Clark
             Chief of Police for the City of Forest Park
             c/o counsel for the City
             Sharon P. Morgan, Laura A. Denton, and K. Tate Gray
             Elarbee, Thompson, Sapp & Wilson, LLP
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             800 International Tower
             229 Peachtree Street, N.E.
             Atlanta, Georgia 30303
             (404) 659-6700

      Chief Clark has knowledge relating to the third-party, independent audits

conducted that revealed the financial misfeasance of Plaintiff and the reasons for

Plaintiff’s termination.

      3.     Angela Redding
             Former City Manager with the City of Forest Park
             c/o counsel for the City
             Sharon P. Morgan, Laura A. Denton, and K. Tate Gray
             Elarbee, Thompson, Sapp & Wilson, LLP
             800 International Tower
             229 Peachtree Street, N.E.
             Atlanta, Georgia 30303
             (404) 659-6700

      Former City Manager Redding has knowledge relating to the reasons for

Plaintiff’s termination.

      4.     Ken Bell and Associates
             P.O. Box 1542
             Duarte, CA 91010

      Ken Bell and Associates has information relating to the independent audit it

conducted of the City Police Department.

      5.     Mauldin & Jenkins CPAs & Advisors
             200 Galleria Pkwy. SE
             Suite 1700
             Atlanta, GA 30339
             (770) 955-8600



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    Case 1:20-cv-04880-LMM-RDC Document 14 Filed 01/20/21 Page 22 of 39




      Mauldin & Jenkins CPAs & Advisors has information relating to the

independent audit it conducted of the City Police Department.

      6.     Empower Retirement, LLC
             Great West Life Center III
             8525 E. Orchard Rd.
             Greenwood Village, CO 80111

      Empower Retirement, LLC has knowledge relating to the terms and

conditions and administration of the retirement plans at issue in this action.

      The City further reserves the right to supplement and/or correct this list as

additional information becomes available.




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                       Chris Matson v. City of Forest Park
                 Civil Action File No. 1:20-cv-04880-LMM-RDC

                                  Attachment “C”

      By this reference, the City identifies all documents, data compilations, and

tangible things identified by Plaintiff in his Initial Disclosures and any amendment

thereto, as well as any documents produced by Plaintiff or the City or any third-

party during the course of discovery, including but not limited to, any depositions

taken in this matter. The City believes the following additional non-privileged

documents in its possession are relevant to its defenses in this action:

      1.     City of Forest Park’s Personnel Policies and Procedures Manual;

      2.     Terms and conditions of the Retirement Plans that are the subject of

             this action;

      2.     Plaintiff’s personnel file;

      3.     Plaintiff’s departmental personnel file;

      4.     Third-party audits into financials of the City of Forest Park Police

             Department, including any documentation reviewed by auditors;

      6.     The City of Forest Park Police Department’s Standard Operating

             Procedures;

      7.     The City of Forest Park’s Charter and various Ordinances; and

      8.     Plaintiff’s EEOC Charge, any amendments thereto, and any

             documentation submitted in connection therewith.
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      The City reserves the right to supplement this response (or produce such

other documents) in the event it become aware of other responsive documents that

may be used in support of its defenses.




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                Chris Matson v. City of Forest Park
          Civil Action File No. 1:20-cv-04880-LMM-RDC

                         Attachment “E”
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                                          ARGONAUT GREAT CENTRAL INSURANCE COMPANY
                                                                                  th
                                                225 W es t W as hington Street, 24 Floor
                                                           Chic ago, IL 60606

      EM PLOYM ENT PRACTICES LIABILITY COVERAGE PART
                      DECLARATIONS
IMPORTANT NOTICE: THIS COVERAGE PART PROVIDES CLAIMS-MADE COVERAGE. PLEASE READ THE EN-
TIRE POLICY CAREFULLY TO DETERMINE YOUR RIGHTS AND DUTI ES AND W HAT IS AND IS NOT COVERED.


POLICY NO. : EP-4632511-05                                                            RENEW AL OF NO.:* EP-4632511-04

Na m e d Insure d a nd Ma ili ng Addre ss*
City of Fores t Park
745 Fores t Park way
Fores t Park , GA 30297

  IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
              AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

ITEM 1: POLICY PERIOD:
Policy covers From: 07/01/2019 To: 07/01/2020 at 12:01 A.M. Standard Time at your mailing address shown
above.*
This Insurance does not apply to claims which arose from a “wrongful act” commencing before the Retroactive Date
shown below. Enter NONE if no Retroactive Date applies to this coverage part.

RETROACTIVE DATE: 11/15/1995


ITEM 2: LIABILITY LIMIT:
Each Wrongful Act:                                                    $1,000,000
Annual Aggregate:                                                     $2,000,000
Back Wages Limit:                                                     $50,000
ITEM 3: DEDUCTIBLE:
Deductible: Each Wrongful Act:                                        $25,000
Deductible: Back Wages:                                               $10,000
ITEM 4: FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION:
See polic y forms lis t.


ITEM 5: PREMIUM:
Premium:                                                             $28,287
Minimum Premium:                                                     $

*Informat ion may be omitted if s hown els ewhere in the polic y

THESE D ECL ARATIONS, TOGETHER WITH THE COMMON POLICY DEC LAR ATIONS, IF APPLIC ABLE, COMMON POLICY CON -
 DITION S, COVER AGE FOR M(S) AND FOR MS AND END ORSEMEN TS, IF AN Y, C OMPLETE THE ABOVE N UMBERED POLICY.




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                                                                                                                       PROFESSIONAL
                                                                                                                         Claim s Made



EMPLOYMENT PRACTICES LIABILITY COVERAGE PART – PUBLIC ENTITY EMPLOYEES

In return for the payment of premium and subject to the terms and conditions of this policy, we agree with you as follows:

INTRODUCTION

Various provisions in this Coverage Part restrict coverage. Read the entire Coverage Part carefully to determine rights,
duties and what is and is not covered.

Throughout this coverage part the words you and your refer to the Public Entity shown first as Named Insured in the
Declarations. The words we, us and our refer to the company providing this insurance.

The word insured means any person or organization qualifying as such under WHO IS AN INSURED (Section II).

Other words and phrases that appear in quotation marks have special meaning. Refer to DEFINITIONS (Section VI).


SECTION I – COVERAGES

A. Insuring Agreement
We will pay on behalf of the insured those sums that the insured becomes legally obligated to pay as damages because
of a “wrongful employment act” committed anywhere in the world to which this insurance applies. This insurance DOES
NOT apply to any “claim” resulting from a “wrongful employment act” that commenced prior to the Retroactive Date shown
in the declarations.

This insurance applies only to a “claim” for “damages” first made against any insured during the policy period or any Ex-
tended Reporting Period we provide under SECTION V EXTENDED REPORTED P ERIODS. A “claim” will be deemed to
have been made when notice of such “claim” is received and recorded by you or your “designee” or by us, whichever
comes first;

All “claims” arising out of the same “wrongful employment act” will be deemed to have been made at the time the first of
those “claims” is made against any insured.

We will have the right and duty to defend the insured against any “suit” seeking “damages”. However, we will have no
duty to defend the insured against any “suit” seeking “damages” for a “wrongful employment act” to which this insu rance
does not apply. We may, at our discretion, investigate any “wrongful employment act” and settle any “claim” or “suit” that
may result. However:

      a.   The amount we will pay for "damages" is limited as described in Section III Limits Of Insurance And Deducti-
           ble; and
      b.   Our right and duty to defend ends when we have used up the applicable limit of insurance in the payment of
           judgments or settlements.

No other obligation or liability to pay sums or perform acts or services is covered unless explicitly p rovided for under Sup-
plementary Payments (Section I. C.).


B. Exclusions
This insurance does not apply to:

1.   Any “claim”, or any portion of any “claim”, alleging “bodily injury”, “property damage”, “personal injury”, “advertising
     injury” or "employee benefits injury”.


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2.    Any “claim” arising out of a breach of contract, including but not limited to amounts owed under any written emplo y-
      ment-related contract or agreement or liability assumed under any contract or agreement.

3.    Any “claim” arising out of:
       a.   a dishonest, malicious, fraudulent or criminal act, error or omission by any person, or
       b.   a knowing violation of any law, statute or governmental regulation.
      This exclusion applies only to the insured(s) who committed or had knowledge of the fraudul ent, criminal or dishonest
      act, error, omission or violation of law. However if it is later established by a judgment or other final adjudication that
      the was not proven, we will reimburse the insured for the reasonable costs of defense

4. Any civil or criminal fines or penalties levied by any federal, state or local governmental regulatory agency or court.

5. Any “claim” arising out of:
       a.   Any collective bargaining agreements; or
       b.   Any lockout, strike, picket line, replacement of workers or other labor disputes or labor negotiations, union griev-
            ances or any “claim” filed by or on behalf of a union.

6. Any “claim” arising out of any liability based upon or attributable to any insured gaining profit, advantage, or remuner a-
   tion to which that insured is not legally entitled.

7.    Any “claim” arising out of any obligation of the insured under the following laws and any subsequent amendments
      thereto, or any similar laws, rules or regulations:
       a.   Fair Labor Standards Act.
       b.   National Labor Relations Act.
       c.   Worker Adjustment and Retraining Notification Act.
       d.   Consolidated Omnibus Budget Reconciliation Act of 1985.
       e.   Employee Retirement Income Security Act of 1974.
       f.    The Pension Benefit Act,
       g.   The Occupational Safety and Health Act
       h.   Section 89 of the Internal Revenue Code

8. Any “claim” arising out of disputes over benefits made by anyone including any beneficiary, related to their emplo yment
   or application for employment by you. This includes, but is not limited to, an employee benefit plan, wel fare plan, re-
   tirement plan, self insurance fund, or any obligation under the Employee Retirement Income Security Act, or COBRA,
   and any subsequent amendments thereto or any similar local, state or federal law or regulation.

9. Any “claim” arising out of the cost of employment reinstatement, continued employment or complying with any order
    for, grant of, or agreement to provide injunctive or other non-monetary relief.

10. Any “claim” for relief that is equitable in nature and is not payable in money, or any request for equitable or injunctive
    relief, or the insured's cost to comply with any such non-monetary relief.

      The most we will pay to defend any “suit” that is solely seeking non-monetary or equitable or injunctive relief is limited
      under Supplementary Payments (Section I.C.).

      If a "suit" seeks both monetary damages and non-monetary relief, we will defend the "suit".

11.     Any “claim” arising out of:

       a.    Any prior and/or pending litigation as of the effective date of this Coverage Part set forth in the Declarations, or

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      b.         Any fact, circumstance, situation, transaction or event underlying or alleged in such litigation, regardless of the
                 legal theory upon which such “claim” is predicated.

12. Any “claim” arising out of:

     a.        The activities or operations of any school, school board, school district, or other similar educational unit, entity or
               institutions;

     b.        The activities or operations of any boards, commissions, agencies, authorities, administrative departments or ot h-
               er similar units operated by, under the jurisdiction, and within the budget of an entity described in 1 above;

     c.        The liability of any insured for their administration, supervision or oversight of any person, entity, department,
               agency, or institution described in 1 or 2 above.


C. Supplementary Payments

1.   We will pay, with respect to any “claim” we investigate or settle, or any "suit" against an insured we defend:
      a.         All expenses we incur.
      b.         The cost of bonds to release attachments, but only for bond amounts within the applicabl e limit of insurance.
                 We do not have to furnish these bonds.
      c.         All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
                 “claim” or "suit", including actual loss of earnings up to $300 a day because of time off from work.
      d.         All costs taxed against the insured in the "suit" that result from a verdict covered by this policy.
      e.         Prejudgment interest awarded against the insured on that part of the judgment we pay. If we make an offer to
                 pay the applicable limit of insurance, we will not pay any prejudgment interest based on that period of time after
                 the offer.
      f.         All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
                 offered to pay, or deposited in court the part of the judgment that is within the applicable limit of insurance.

     Our obligation to defend an insured and to pay for attorneys' fees and necessary litigation expenses as Suppleme n-
     tary Payments ends when we have used up the applicable limit of insurance in the payment of judgments or settle-
     ments.

2.   Non-Monetary Defense Limit
          a.     The most we will pay for defense costs, to defend any and all “suits” brought that are solely seeking non-
                 monetary or equitable or injunctive relief and/or for legal fees awarded to the plaintiff in such “suits” is $50,000
                 per “suit”. The most we will pay is $50,000 in the aggregate for the policy period.
          b.     We will not pay to defend any “suits” initiated by a governmental entity that are solely seeking non-monetary or
                 equitable or injunctive relief.

               This limit only applies when the “suit” would otherwise be covered by this Coverage Part, but for the fact it solely
               seeks non-monetary damages.

3.   Equal Employment Opportunity Commission (EEOC) Defense Limit

          While not a “claim” for “damages” otherwise covered by this Coverage Part, if we receive notification from you that
          an EEOC compliant has been filed against you during the policy period:

               The most we will pay for defense costs to respond to an EEOC complaint or to attend related hearings and/or for
               legal fees that are awarded to a complainant is $10,000 in excess of $2,500 for each EEOC complaint that is filed
               against you. The most we will pay to defend any and all EEOC complaints filed against you during the po licy pe-
               riod is $50,000 in the aggregate.
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These payments will not reduce the Limits of Insurance.


SECTION II – WHO IS AN INSURED

You are an insured and.

Each of the following is an insured but only for acts that are both within the scope of his or her duties for you, and motivat-
ed, at least in part, by a purpose to serve you:

1.   Any member of the governing body of the named insured.

2.   Any board, commission, agency, authority, administrative department, or other similar unit operated by you and u nder
     your jurisdiction and within your budget.

3.   All your past, present, and future elected, appointed, or employed officials..

4.   Any employee or authorized volunteer of the named insured.

No person or organization is an insured with respect to the conduct of any current or past partnership or joint venture, or
any other entity, that is not shown as a named insured in the Declarations.


SECTION III - LIMITS OF INSURANCE AND DEDUCTIBLE

1.   The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay regardless of the num-
     ber of:
       a.   Insureds; or
       b.   ”Claims” made or "suits" brought; or
       c.   Persons or organizations making “claims” or bringing "suits".

2.   The most we will pay for all “claims”, “suits” or actions covered by this Coverage Part is the ANNUAL AGGREGATE
     shown in the Declarations.
3.   Subject to 2. above, the Each “Wrongful Employment Act” Limit is the most we will pay for the sum of all “damages”
     arising out of any one "“wrongful employment act”".
4.   Deductible
       a.   Our obligation to pay “damages” on your behalf and to pay "loss adjustment expense" applies only to the
            amount of “damages” and "loss adjustment expense" in excess of the Deductible shown in the Declarations.
            The Deductible shown in the Declarations applies to the total amount of all “damages” and related "loss adjus t-
            ment expense" because of all ”claims” resulting from any one "“wrongful employment act”".
       b.   The terms of this insurance, including those with respect to:
             i.    Our right and duty to defend any "suits" seeking those “damages”; and
             ii.   Your duties in the event of a "“wrongful employment act”", “claim”, or "suit"
            Apply irrespective of the application of the Deductible amount.
       c.   We may pay any part, or all, of the Deductible amount applicable to “damages” and “loss adjustment expense”
            to effect settlement of any “claim” or "suit", and, upon notification of the action taken, you shall promptly rei m-
            burse us for such part of the Deductible amount as has been paid by us.



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    If we file suit seeking recovery for amounts paid by us as a deductible which is to be reimbursed by you, then you are
    responsible for all costs of collection, including reasonable attorney’s fees and interest on the amount I question in the
    full amount allowed by law.

5. Back Wages Limit

   Subject to the Aggregate Limit shown in the Declarations, the Back Wages Limit shown in the Declarations, after pa y-
   ment of the Back Wages Deductible shown in the Declarations, is the most we will pay under this Coverage Part for
   the sum of all "back wages” for any one "wrongful employment act", regardless of the number of:
         a. Insureds;
         b. “Claims” made or “suits” brought; or
         c. Persons or organizations making “claims” or bringing “suits”.
   This limit does not apply unless an amount is shown in the Declarations.

The Limits of Insurance of this Coverage Part apply separately to each consecutive annual period and to any remaining
period of less than 12 months, starting with the beginning of the Coverage Part period shown in the Declarations, unless
the Coverage Part period is extended after issuance for an additional period of less than 12 months. In that case, the a d-
ditional period will be deemed part of the last preceding period for purposes of determining the Limits of Insurance.


SECTION IV - CONDITIONS

A. Bankruptcy
    Bankruptcy or insolvency of the insured or of the insured's estate will not relieve us of our obligations under this Co v-
    erage Part.

B. Duties of the Named Insured
    1.    The Named Insured in the Declarations, or if multiple entities are named, the first of such entities, shall be the
          sole agent, and shall act on behalf, of each insured with respect to all matters under this Coverage Part, inclu ding
          but not limited to:
           a.        Giving notice of any “claim”;
           b.        Giving or receiving notice of cancellation;
           c.        Receiving any other written notice or correspondence from us;
           d.        Consenting to the settlement of any “suit”;
           e.        The receipt and acceptance of this Coverage Part and any endorsements to this Coverage Part;
           f.        The payment of any premium due under this Coverage Part;
           g.        The receipt of any return premiums that may become due under this Coverage Part; and
           h.        The exercise of any rights under Section V Extended Reporting Periods; and
    2.    Each insured agrees that the Named Insured in the Declarations, or if multiple entities are named, the first of such
          entities, shall act on their behalf.

C. Duties In The Event Of A “Claim”, “Suit” or ““Wrongful Employment Act””
    1.    You must see to it that we are notified of a "“wrongful employment act”" which may res ult in a “claim” covered by
          this Coverage Part as soon as practicable after the ““wrongful employment act”” is known by you, or your “design-
          ee”.
          To the extent possible, notice should include:
                a.    How, when and where the "“wrongful employment act”" took plac e;
                b.    The names and addresses of any injured persons or witnesses; and
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                c.   The nature and location of any injury or damage arising out of the ““wrongful employment act”".

         Notice of a ““wrongful employment act”” is not notice of a “claim”.
    2.    If a “claim” is made or "suit" is brought against any insured, you must:
                a.   Record the specifics of the “claim” or "suit" and the date received as soon as you, or your “designee” is not i-
                     fied of it;
                b.   Notify us as soon as practicable after you or your “designee” learns of the “claim” or “suit”.

              You must see to it that we receive written notice of the “claim” or "suit" as soon as practicable.

    3.        You and any other involved insured must:
                a.   Immediately send us copies of any demands, notices, summonses or legal papers recei ved in connection
                     with the “claim” or "suit";
                b.   Authorize us to obtain records and other information;
                c.   Cooperate with us in the investigation or settlement of the “claim” or defense against the "suit"; and
                d.   Assist us, upon our request, in the enforcement of any right against any person or organization which may
                     be liable to the insured because of injury or damage to which this insurance may also apply.

    4.        No insured will, except at that insured's own cost, voluntarily make a payment, assume any obligation, or incur
              any expense, other than for first aid, without our consent
    5.        Notice given by or on behalf of:
                a.   The insured;
                b.   The injured person;
                c.   Any other claimant;
              to a licensed agent of ours with particulars sufficient to identify the insured shall be deemed notice to us.

D. Assignment
    Assignment of interest under this Coverage Part shall not bind us until our consent is endorsed hereon; however, su b-
    ject otherwise to the terms hereof, this Coverage Part shall cover the estate, heirs, legal representative or assigns of
    the insured in the event of the insured’s death, bankruptcy, insolvency or being adjudged incompetent.

E. Legal Action Against Us
    No person or organization has a right under this Coverage Part:
         1.     To join us as a party or otherwise bring us into a "suit" asking for damages from an insured; or
         2.     To sue us on this Coverage Part unless all of its terms have been fully complied with.
A person or organization may sue us to recover on an agreed settlement or on a final judgment against an insured; but we
will not be liable for damages that are not payable under the terms of this Coverage Part or that are in excess of the appl i-
cable limit of insurance. An agreed settlement means a settlement and release of liabi lity signed by us, the insured and
the claimant or the claimant's legal representative.

F. Other Insurance
    The insurance provided by this Coverage Part is excess over any other collectible insurance. We will have no duty to
    defend the insured against any “suit” or “claim” for “damages” if any other insurer has a duty to defend the insured
    against that “suit”.

    When this insurance is excess over other insurance, we will pay only our share of the amount of loss, if any, that e x-
    ceeds the sum of:


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        1.   The total amount that all other insurance would pay in the absence of this insurance; and

        2.   The total of all deductible and self-insured amounts under the other insurance.

      If we share the loss, we will do so by equal share contribution if allowed by the other insurance. If equal share c ontri-
      bution is not permitted, we will contribute by the ratio our limit bears to the total applicable limits of all i nsurance.

G. Conformity to Statute
      This Coverage Part is intended to be in full conformity with the laws of the state in which it is
      issued. If any provision of this Coverage Part (including endorsements which modify the Coverage Part) conflicts with
      any law, it is changed to comply with that law.

H. Premium Audit
      Unless required by law, premiums for this Coverage Part shall not be subject to audit.

I. Consent To Settle
     We will not settle any "suit" without your consent. If , however, you refuse to consent to any settlement recommended
     by us and elect to contest the “claim” or to continue any legal proceedings in connection with such “claim,” then:
        1.   We will not be obligated to pay defense costs incurred by you subsequent to such refusal. and
        2.   If a settlement or adverse judgment occurs subsequent to such refusal, we will not be obligated to pay any
             amount in excess of the amount for which the “claim” could have been settled prior to such refusal.
        Such amounts are subject to the provisions of Section III Limits of Insurance and Deductible of this Coverage Part.

J.    Representations
      By accepting this Coverage Part, you agree:
        1.   The application and the declarations are the basis of this Coverage Part and are to be considered as incorpo-
             rated in and constituting part of this Coverage Part.
        2.   The statements in your application are accurate and complete;
        3.   Those statements are representations you made to us; and
        4.   We have issued this Coverage Part in reliance upon your representations.

K. Transfer Of Rights Of Recovery Against Others To Us

      If an insured has rights to recover all or part of any payment we have made under this Coverage P art, those rights are
      transferred to us. No insured should do anything after a ““wrongful employment act”” to impair them. At our request,
      the insured will bring "suit" or transfer those rights to us and help us enforce them.

L. When We Do Not Renew

      If we decide not to renew this Coverage Part we will mail or deliver to the Named Insured in the Declarations, or if
      multiple entities are named, the first of such entities, notice of the non-renewal not less than 30 days before the expi-
      ration date.

      If notice is mailed, proof of mailing as required by state law will be sufficient proof of notice. Proof of mailing require-
      ments may vary by state.

M. Separation Of Insureds
      Except with respect to the Limits of Insurance, and any rights or duties specifically ass igned in this Coverage Part to
      the Named Insured in the Declarations, or if multiple entities are named, the first of such entities, this insurance a p-
      plies:

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      1.   As if each Named Insured were the only Named Insured; and
      2.   Separately to each insured against whom “claim” is made or "suit" is brought.

N. Title of Paragraphs
    The titles of the various paragraphs of this Coverage Part and endorsements, if any, attached to this Coverage Part,
    are inserted solely for convenience or reference and are not deemed in any way to affect the provisions to which they
    relate.


SECTION V - EXTENDED REPORTING PERIODS

A. We will provide one or more Extended Reporting Periods, as described below, if:

      1.   This Coverage Part is cancelled or not renewed; or
      2.   We renew or replace this Coverage Part with insurance that:
             a.   Has a Retroactive Date later than the date shown in the Declarations of this Coverage Part; or
             b.   Does not apply to "wrongful employment acts” on a claims -made basis.
B. Extended Reporting Periods do not extend the policy period or change the scope of coverage provided. They apply
   only to ”claims” for:
      1.   "Wrongful Employment Acts" that first occur before the end of the policy period but not before the Retroactive
           Date, if any, shown in the Declarations.

    Once in effect Extended Reporting Periods may not be cancelled.

C. A Basic Extended Reporting Period is automatically provided without additional charge. This period starts with the end
   of the policy period and lasts for 90 days. Please refer to Section IV - Conditions, C. Duties in the Event of a “Claim”,
   “Suit” or “Wrongful Employment Act”, for your responsibilities when reporting an incident to us. The Basic Extended
   Reporting Period does not apply to ”claims” that are covered under any subsequent insurance you purchase, or that
   would be covered but for exhaustion of the amount of insurance applicable to such ”claims”.

D. The Basic Extended Reporting Period does not reinstate or increase the Limits of Insurance.

E. A Supplemental Extended Reporting Period of 12, 24 or 36 months is available, but only by an endorsement and for
   an extra charge. This supplemental period starts when the Basic Extended Reporting Period, set forth in paragraphs
   C. and D. above, ends.

      1.   You must give us a written request for the endorsement within 90 days after the end of the policy period. If you
           have chosen to purchase a Supplemental Extended Reporting Period for a period of less than 36 months, you
           may extend the period for up to a combined total of 36 months if you request the extension in writing no later
           than 60 days before the expiration of the Supplemental Extended Reporting Period originally elected.
      2.   The Supplemental Extended Reporting Period(s) will not go into effect unless you pay the additional premium,
           determined in accordance with our rates, promptly when due. The additional premium for each 12-month Sup-
           plemental Extended Reporting Period will be equal to 50% of the annual premium for this Coverage Part.
      3.   The insurance afforded for ”claims” first made during the Supplemental Extended Reporting period is excess
           over any other valid and collectible insurance available under policies in force after the Supplemental E xtended
           Reporting Period(s) starts.

F. The Limit of Liability that applies to the Supplemental Extended Reporting period is equal to the limit entered on the
   declarations in effect at the end of the policy period.



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SECTION VI - DEFINITIONS

1.   “Advertising Injury” means
       a.   The use of another's advertising idea in your advertisement; or
       b.   Infringement of copyright, patent, slogan, trademark, trade secret, trade dress, or other intellectual property
            rights.

2.   "Back wages" means wages that would have been earned in the past if a person had been employed or promoted or
     received a wage increase. "Back wages", as used in this Coverage Part, includes future wages and overtime, but
     "back wages" does not include:
      a. Any wage loss resulting from any lockout, strike, picket line, replacement of workers or other similar actions in
         connection with labor disputes, labor negotiations, or collective bargaining agreements; or
      b. Any future wages or other compensation paid to reinstated or rehired “employees” or claimants due and payable
         beyond the date of reinstatement or rehire.

3.   "Bodily Injury" means bodily injury, sickness or disease sustained by a person including death resulting from any of
     these at any time.

4.   “Claim” means written or oral demand, including a “suit”, to hold the insured responsible for an alleged or actual
     “wrongful employment act” where payment of “damages” is sought.


5.   "Damages" means money damages including “back wages”. “Damages” does not include any amount awarded as
     liquidated damages pursuant to any federal or state statute. “Damages” does not include punitive damages, unless
     required by state law.

6. “Designee” means one of your officers, your legal department or an employee you designate to give notice to us.

7.   “Employee” includes a “leased worker”.

8.   “Employee Benefits Injury” means injury that arises out of any ac t, error or omission in the administration of your “Em-
     ployee Benefit Programs” or alleged violation of any employment related state or federal code, regulation or statute.

9.   “Employee Benefits Programs” means a program or programs of employee benefits maintained in connection with
     your business or operations, such as but not limited to, Group Life Insurance, Group Accident or Health Insurance,
     Pension Plans, Employee Stock Subscription Plans, Workers Compensation, Unemployment Insurance, Social Sec u-
     rity and Disability Benefits.

10. "Leased worker" means a person leased to you by a labor leasing firm under an agreement between you and the
    labor leasing firm, to perform duties related to the conduct of your business.

11. "Loss adjustment expense" means expenses allocated to a specific loss, “claim” or "suit" we incur or the insured in-
    curs with our consent for the investigation, negotiation, arbitration, adjustment, settlement or defense of any “claim”
    or suit, whether paid by us or by the insured with our consent. "Loss adjustment expense" does not include salaries
    and expenses of our employees.

12. “Personal Injury” means:
       a. False arrest, detention, imprisonment, abuse of process or malicious prosecution.
       b. Wrongful entry or eviction, or other invasion of the right of private occupancy.

13. “Property Damage" means:
       a.   Physical injury to tangible property including all resulting loss of use of that property; or
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      b.   Loss of use of personal property that is not physically injured; or
      c.   Disappearance of tangible property (including money).
      d.   Impairment, deprivation or destruction of property, including loss of use thereof, resulting from proceedings in
           eminent domain, adverse possession, unlawful or unconstitutional taking of property or inverse condemnat ion,
           by whatever named called.

14. “Suit” means a civil proceeding in which “damages” to which this insurance applies are alleged. “Suit” i ncludes:
      a.   An arbitration proceeding in which “damages” may be awarded and to which the insured must submit or does
           submit with our consent; or
      b.   Any other alternative dispute resolution proceeding in which “damages” may be awarded and to which the in-
           sured submits with our consent.

15. "Volunteer " means a person who:
      a.   Is not an "employee" of any insured; or
      b.   Donates his or her work; or
      c.   Acts at the direction of, and within the scope of duties determined by, an insured; and
      d.   Is not paid a fee, salary or other compensation by any insured or anyone else for their work performed for the
           insured.

16. “Wrongful employment act" means any actual or alleged wrongful dismissal, discharge, termination of employment,
    wrongful failure or refusal to employ or to promote, or violation of employment discrimination or workplace haras sment
    laws.

    All such acts, errors or omissions committed by one or more insureds that are substantially the same or are in any
    way directly or indirectly related -- either logically, causally or temporally – shall be deemed to constitute one Wrongful
    Employment Act, regardless of the number of “claims” or claimants. The entire Wrongful Employment Act will be con-
    sidered to have been committed on the date of the first act, error or omission.




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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         ADDITIONAL EXCLUSIONS
This endorsement modifies insurance provided under the following:

   EMPLOYMENT PRACTICES LIABILITY COVERAGE PART

No coverage for any claim shall apply under this Coverage Part if coverage has been excluded below



EXCLUSION      EXCLUSION DOES
APPLIES        NOT APPLY
                                                        Miscellaneous:
                               1.       Ski Facility;

                               2.       Airport or activity related to aviation administration, supervision or operations;

                               3.       Medical Clinic;

                               4.       Hospital, Nursing Home or other type of medical facility;

                               5.       Public Housing Project or Authority;

                               6.       Jail, Penal Institution or similar type facility;

                               7.    Child care facilities operating as a:
                                      a. Day Care
                                      b. Day Camp
                                      c. Nursery or similar facility;

                               8.       Public Transportation System, including but not limited to transport, operations and
                                        premises;

                               9.       Golf Course;

                               10.      Fire District or Department;

                               11.      Emergency Medical Service;

                               Other:



                                                             Utilities:

                               12.        Public Gas Utility;

                               13.        Public Water Utility;

                               14.        Public Electric Utility;

                               15.        Public Sewer Utility

                               Other:




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EXCLUSION      EXCLUSION DOES
APPLIES        NOT APPLY
                                                     Law Enforcement:
                              16.      Activity or function by or on behalf of any law enforcement agency or any agent
                                       thereof and/or activity or function related to the administration of the criminal
                                       justice system;

                              Other:



                                                         Schools:
                              17.      Public School District or System, Public School, School Board(s), or other similar
                                       educational units, entities or institutions;

                              18.      Operations of public or private entities or of political subdivisions other than
                                       schools, school boards, school districts or similar educational units, entities or
                                       institutions.

                              Other:




APPLICATION OF ENDORSEMENT (Enter below any limitations, clarifications or special conditions on the application of
this endorsement):




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       PRE-TERMINATION COVERAGE


This endorsement modifies insurance provided under the following:

    EMPLOYMENT PRACTICES LIABILITY COVERAGE PART


The following is added to C. Supplementary Payments of SECTION I – COVERAGES:


    1.   g. If during the Coverage Period you report a potential termination of any employee to us prior to
            the time the termination is made, we will pay for consultation with legal counsel of our choice
            to provide:

             a.   Legal analysis concerning the appropriateness of the termination; and

             b.   If applicable, legal assistance in handling the termination.

The most we will pay is $2,500 for each potential employee terminat ion, subject to a Policy Period aggre-
gate of $5,000.




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